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0 CMLCLJ                     UNITED STATES DISTRICT COURT                           1   6 2020
                               WESTERN DISTRICT OF TEXAS                       U.S. DiSTRICT CLEIK

                                   SAN ANTONIO DIVISION                      ERN DISTRCT OF TEXAS


 UNITED STATES OF AMERICA,

               Plaintiff,
                                             §
                                                 SA2o CR 0 6 0 1,
                                                     INDICTMENT
                                             §       Ct 1:8 U.S.C. § 1324(a)(1)(A)(ii) & (v)(I)
 VS.                                         §      Conspiracy to Transport Illegal Aliens
                                             §      Ct2: 8 U.S.C. § 1324(a)(l)(A)(iii)&(v)(I)
                                             §      Conspiracy to Harbor Illegal Aliens
                                             §      Ct3: 18 U.S.C. § 1956(h)
                                             §      Conspiracy to Commit Money Laundering
EMMANUEL VALDOVrNOS (2),                     §      Ct 4:18 U.S.C. § 844(n)
    üa "MANNY                                §      Conspiracy to Commit Arson
                                             §      Cts 5: 18 U.S.C. § 844(1) & 2
                                             §      Arson of a. Building
                                                    Ct6: 18 U.S.C. §.844(h)&2
cALLEJA-VELASQUEZ 4),                        §      Use of Fire or Explosives to Commit
     aka TMKORY"                             §      a Federal Felony
                                             §      Cts 7-10 26 US C § 5861(d)
                                                    Possession of a Destructive Device
                                                    Cts 11-13: 18 U.S.C. § 922(g)(5)
                                                    Illegal Alien in Possession of a Firearm
                                                    Ct 14: 21 U.S.C. § 841(a)(l)/(b)(1)(A)
                                                    Possession with Intent to Distribute
                                                    Methamphetamine
                                                    Ct 15: 21 U.S.C. § 841(a)(l)/(b)(I)(C)
                                                    Possession with Intent to Distribute Cocaine



              Defendants,                   §
                                            §


THE GRAND JURY CHARGES:

                                         COUNT ONE
                            [8 U.S.C. § 1324(a)(IXA)Qi) & (v)(I)J

       That on or about January 2019, the exact date unknown, and continuing until on or about

February 20, 2020, in the Western District of Texas, Defendants,


                    EMMANUEL VALDOVINOS aka "MANNY" (2),
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                  JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),




 did knowingly combine, conspire, confederate and agree with others, known and unknown
                                                                                       to the
 Grand Jury, to commit the following offense against the United States: to transport and move, and

 attempt to transport and move, by means of transportation or otherwise, aliens who entered and.

 remained in the United States in violation of law, knowing and in reckless disregard     of the fact
 that said aliens came to, entered, and remained in the United States in violation of law, and in

 furtherance of such violation of law, in violation of Title 8, United States Code, Section

 1324(a)(IXA)(ii) & (v)(l).

                                          COUNT TWO
                              [8 U S C    1324(a)(l)(A)(ih) & ('v)(I)J

        That on or about January 2019, the exact date unknown, and continuing until on or about

February 20,2020, in the Western District of Texas, Defendants,


                        MMANUE VALDOVIN S ala, "MANNY" (2j

                JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),




did knowingly combine, conspire, confederate and agree with     others,   known and unknown to the
Grand Jury, to commit the following offense against the United States: to conceal, harbor, and

shield from detection aliens who entered and remained in the United States in violation of law,

knowing and in reckless disregard of the fact that said aliens came to, entered, and remained in the
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 United States in violation        of law, in violation of Title 8, United States Code, Section
 1   324(a)(l)(A)(iii) & (v)(1),

                                           COUNT THREE
                                         [18 U.S.C. § 1956(h)J

           That on or about January 2019, the exact date unknown, and continuing until on or about

Januazy 14, 2020, in the Western District    of Texas, Defendants,




did knowingly combine, conspire, and agree with each other and with others, known and unknown

to the Grand Jury, to conunit offenses against the United States in violation of Title 18, United

States Code, Section 1956, that is: to transport, transmit, and transfer, and attempt to transport,

transmit, and transfer a monetary instrument or funds involving the proceeds of specified unlawful

activity, that is, Conspiracy to Transport and Harbor Illegal Aliens, in violation of Title 8, United

States Code, Section 1324(a)(l)(A)(ii), (iii), & (v)(I), from a place in the United States to or

through a place outside the United States and to a place in the United States from or through a

place outside the United States, knowing that the funds involved in the transportation,

transmission, and transfer represented the proceeds of some form of unlawful activity and knowing

that such transportation, transmission, and transfer was designed in whole or in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of the specified

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(2)(B)(i)

                                           COUNT FOUR
                                        [18 U.S.C. § 844(n)J

         That on or about September 2, 2019, in the Western District of Texas, Defendants,




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did knowingly combine, conspire, and agree with each other and with others, known and unknown

to the Grand Jury, to commit offenses against the United States, that is, they conspired to

maliciously damage and attempted to damage and destroy, by means of fire and explosive

materials, a residence, located on the

in interstate commerce, in violation of Title 18, United States Code, Section 844(1), all in violation

of Title 18, United States Code, Section 844(n).

                                            COUNT FIVE
                                      J18USC §844(l)&2J

       That on or about September 2, 2019, in the Western District of Texas, Defendants,




aided and abetted by    each other, maliciously   damaged and attempted to damage and destroy, by

means of fire and explosive materials, a residence, located on the

                       gnd used in interstate commerce, in violation   of Title   18, United States Code,

Sections 844(i) & 2.

                                            COUNT SIX
                                      18 V S C. § 844(h) & 2J

       That on or about September 2, 2019, in the Western District of Texas, Defendants,




aided and abetted by each other, knowingly used fire and explosive materials to commit, and


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 unlawfully carried an explosive during the commission of, Conspiracy to Commit Arson            of a
 Building, a felony prosecutable in a court of the United States, in violation of Title 18, United

 States Code, Sections 844(h) & 2.

                                           COUNT SEVEN
                                         126U.S.C. § 586 1(d)J

           That on or about September 2, 2019, in the Western District of Texas, Defendant,



knowingly possessed a destructive device, that is, a Moiotov cocktail, that was not registered to

him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                           COUNT EIGHT
                                        126 USC §5861(d)j
           That on or about September 2, 2019, in the Western District of Texas, Defendant,



knowingly possessed a destructive device, that is, a Molotov cocktail, that was not registered to

him   in   the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                            COUNT NINE
                                        [26 U.S.C. § 581d)J

           That on or about September 2, 2019, in the Western District   of Texas, Defendant,


knowingly possessed a destructive evice, t at is, a       o otov cocktail, that was not registered to

him in the National Firearms Registration and Transfer Record, in violation of Title 26, United
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                                          COUNT TEN
                                      126 U.S.C. § 586 l(d)J

        That on or about September 2, 2019, in the Western District of Texas, Defendant,



knowingly possessed a destructive device, that is,     a Molotov cocktail, that was not registered to
him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                       COUNT ELEVEN
                                     [18 U.S.a. §     922(g5J
       That on or about December 10, 2019, in the Western District of Texas, Defendant,

                JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" 4),

knowing he was an alien illegally and unlawfully in the United Statàs, knowingly possessed a

firearm, to wit: a Glock, mode) 19, 9mm pistol, serial number RCWS685, and said firearm had

been shipped and transported in interstate and foreign commerce, in violation of Title 18, United

States Code, Section 922(g)(5).

                                      COUNT TWELVE
                                    (18 U.S.C. § 922(g)(S))


       That on or about February 11,2020, in the Western District of Texas, Defendant,

                JOSE VICTOR CALLEJ A-VELASQUEZaka "KORY" (4),

knowing he was an alien illegally and unlawfully in the United States, knowingly possessed a

firearm, to wit: a Spike's Tactical, model ST-IS, multi-caliber rifle, serial number SAR78579, and

said firearm had been shipped and transported in laterstate and foreign commerce, in violation of

Title 18, United States Code, Section 922(gXS).




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                                           COUNT THIRTEEN
                                          (18 U.S.C. § 922(g)(5)I

         That on or about November 24, 2020, in the Western District of Texas, Defendant,

                   JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),

 knowing he was an alien illegally and unlawfully in the United States, knowingly possessed a

 firearm, to wit: a Glock, model 42, .380 caliber pistol, serial number ADRL1 13, and said firearm

 had been shipped and transported in interstate and foreign commerce, in violation of Title 18,

United States Code, Section 922(g)(5).

                                          COUNT FOURTEEN
                                  121   U.S.C. § 841(a)(1)/(b)(1)(A)]

         That on or about November 24, 2020, in the Western District of Texas, Defendant,

                   JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),
did knowingly, intentionally, and unlawfully, possess with intent to distribute a controlled

substance, which offense involved 500 grains or more of a mixture or substance containing a

detectable amount of methamphetamine, its salts, isomers, or salts      of its isomers, a Schedule   II

Controlled Substance, contraiy to Title 21, United States Code, Section 841 (a)( 1 )/(b)( I )(A).

                                           COUNT FWFEEN
                                 [21 U.S.C. § 841(a)(1)/(b)(1)(C)]

        That on or about November 24, 2020, in the Western District     ofTexas, Defendant,
                   JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),
did   knowingly,   intentionally, and unlawfully, possess with intent to distribute a controlled

substance, which offense involved a mixture or substance containing a detectable amount of

cocaine, its salts, isomers, or salts of its isomers, a Schedule II Controlled Substance, contrary to

Title 21, United States Code, Section 84 1(a)( I )/(b)( 1)(C).




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      NOTICE OF UNITED STATES OF AMERiCA'S DEMAND FOR FORFEITURE
                          [See Fed. R. CrIm. P. 32.21

                                                    I.
                      Alien Smuggling Violations and Forfeiture Statutes
  [Title 8 U.S.C. § 1324 (a)(1)(A)(ii),(iii) & (v)(1) subject to forfeiture pursuant to Title 18
  U.S.C. § 982(a)(6), and 8 U.S.C. § 1324(b), made applicable to criminal forfeiture by Title
                                        28 U.S.C. § 2461.

        As a result of the foregoing criminal violations set forth in Counts One and Two, the United

 States of America gives notice to Defendants of its intent to seek the forfeiture of
                                                                                      certain property
 upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. 982(a)(6)
                                                                          §          and Title 8
 U.S.C. § 1324(b), made applicable to criminal forfeiture by Title 28 U.S.C. 2461, which
                                                                            §            state:
        Title 18 U.S.C. 982. Criminal forfeiture
        (a)(6XA) The court, in imposing sentence on a person convicted of a violation of, or
        conspiracy to violate,.., the Immigration and Nationality Act.. . shall order that the
        person forfeit to the United States, regardless of any provision of State law -
               (I) any conveyance, including any vessel, vehicle, or aircraft used in the
               commission of the offense of which the person is convicted; and
               (ii) any property real or personal -
                        (I) that constitutes, or is derived from or is traceable to the proceeds
                        obtained directly or indirectly from the commission of the offense
                        of which the person is convicted; or
                        (II) that is used to facilitate, or is intended to be used to facilitate,
                        the commission of the offense of which the person is convicted.

       Title 8 U.S.C. § 1324(b) Seizure and forfeiture
               (1) In general
               Any conveyance, including any vessel, vehicle, or aircraft that has been or
               is being used in the commission of a violation of subsection (a) of
                                                                                       this
               section, the gross proceeds of such violation, and any property tracèàble to
               such conveyance or proceeds, shall be seized and subject to forfeiture.

                                              II.

                         Firearms Violations and Forfeiture Statutes
  [Title 18 U.S.C. § 922(g)(5), subject to forfeiture pursuant to Title 18
                                                                           U.S.C. § 924(d)(1),
              made applicable to criminal forfeiture by TItle 28 U.S.C. 2461]
                                                                           §
       As a result of the criminal violation set forth in Count Eleven through
                                                                                 Thirteen , the United
States of America gives notice to Defendants of its intent to seek the forfeiture of
                                                                                     the property
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 described below upon conviction pursuant to F&. R. CRM. P.              32.2   and Title 18 U.S.C.         924, as
                                                                                                        §

 made applicable to criminal forfeiture by 28 U.S.C.          2461. Section 924 states in pertinent part:

           Title 18 U.S.C. § 924. Penalties

                    (d)(1) Any firearm or ammunition involved in or used in any knowing
                   violation of subsection. . . (g).. . of section 922, .. . shall be subject to
                   seizure and forfeiture. . . under the provisions of this chapter.

                                                      Ill.
                  Unregistered Possession Violations and Forfeiture Statutes
 (Title 26 U.S.C. § 5861(d), subject for forfeiture pursuant to Title 26 U.S.C. 5872(a), made
                                                                                §
                 applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)1

           As a result of the criminal violations set forth in Counts Five through Eight, the United

 States of America gives notice to the Defendants of its intent to seek the forfeiture of property,

 including the items listed below, upon conviction and as part of sentencing, pursuant to               FED. R.

CRIM. P.     32.2 and Title 18 U.S.C. § 924(d)(l), made applicable to criminal forfeiture by Title 28

U.S.C. § 2461(c), which states the following:

          Title 26 U.S.C. § 5872. Forfeiture
                 (a) Laws applicable Any firearm involved in any violation of the
                 provisions of this chapter shall be subject to seizure and forfeiture,

                                                      Iv.
                        Money Laundering Violations and Forfeiture Statutes
                      (Title 18 U.S.C. § 1956(a)(2)(A) & (h) subject to forfeiture
                                pursuant to Title 18 U.S.C. § 982(a)(1)J
          As a result of the foregoing criminal violations set forth in Count Three, the United
                                                                                                States
of America gives notice to Defendants of its intent to seek the forfeiture of the
                                                                                         property described
below upon conviction pursuant to Fed. R. Crim. p. 32.2 and Title 18 U.S.C.
                                                                            § 982(a)(1), which

states:

          TItle 18 U.S.C. § 982. Criminal forfeiture
              (a)(1) The court, in imposing sentence on a person convicted of an offense in
              violation of section 1956.. . of this title, shall order that the person forfeit to the
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            United States any property, real or personal, involved in such offense, or any
            property traceable to such property.


                                               V.
                              Arson and Forfeiture Statutes
       [Title 18 US.C. § 844(n), (L),(h), subject for forfeiture pursuant to Title 18 U.S.C.
        § 981(a)(1)(C), made applicable to criminal forfeiture by TItle 28 U.S.C. § 24611

        As a result of the criminal violation set forth in Counts Four, Nine, and Ten the United

 States of America gives notice to Defendants of its intent to seek the forfeiture of the property

 described below upon conviction pursuant to FED. R. CRIM. P. 32.2 and Title 18 U.S.C. 844(c)
                                                                                      §

and Title 18 U.S.C. § 981(a)(l)(c), as made applicable to criminal forfeiture by 28 U.S.C.           2461.
                                                                                                 §

Section 844 states in pertinent part:

        Title 18 U.S.C. § Penalties

               (c) Any explosive materials involved or used or intended to be used in any violation
               of the provisions of this chapter or any other rule or regulation promulgated
               thereunder or any violation of any criminal law of the United States shall be subject
               to seizure and forfeiture, and all provisions of the Internal Revenue Code of 1986
               relating to the seizure, forfeiture, and disposition of firearms, as defined in section
               5 845(a) of that Code, shall, so far as applicable, extend to seizures and
                                                                                           forfeitures
               under the provisions of this chapter

Section 981 states in pertinent part:

       Title 18 U.S.C. § 981 Forfeiture
              (a)(1)(C) Any Property, real or personal, which constitutes or is derived from
              proceeds traceable to a violation of section.. .844.. .or any offense constituting
              "specified unlawful activity" . . . or a conspimcy to commit such offense.

                                               VI.
                            Drug Violations and Forfeiture Statutes
     (TItle 21 U.S.C. §   841(a)(1) and (b)(1)(A) & (C), subject to forfeiture pursuant to
                             Title 21 U.S.C. § 853(a)(1) and (2)

       As a result of the foregoing criminal violations set forth in Count Fourteen and Fifteen,
                                                                                                 the
United States of America gives notice to Defendants ofits intent to seek the forfeiture of the
                                                                                                 below




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  described properties upon conviction and pursuant to Fed. R. Crim. P. Rule 32,2 and
                                                                                      Title 21 Usc
  §   853(a)(l) and (2), which state:

          Title 21 Usc § 853. Crhninal forfeitures
                  (a) Property subject to criminal forfeitures.
                  Any person convicted of a violation of this subchapter or subchapter II of this
                 chapter punishable by imprisonment for more than one year shall forfeit to the
                 United States, irrespective of any provision of State law -

                           (1) any property constituting, or derived from, any proceeds the
                           person obtained, directly or indirectly, as the result of such
                           violation;
                           (2) any of the person's property used, or intended to be used, in
                           any manner or part, to commit, or to facilitate the commission of,
                           such violation;

                                                 VII.
                                            Money Judgment

         Monev Judgment: A sum of money which represents the value of any proceeds
         obtained directly or indirectly as a result of the violations set forth in Counts 1-4,
         9-10, and 14-15, for which each Defendants is liable.

                                                  VIII.
                                            Substitute Assets

        If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of Defendant:

        a.      cannot be located upon the exercise of due diligence;
        b.      has been transferred or sold to, or deposited with, a third party;
        c.      has been placed beyond the jurisdiction of the court;
        d.      has been substantially diminished in value; or
        e.      has been commingled with other property which cannot be divided without
                difficulty;

it is the intent of the United States of America to seek forfeiture of any other property,
                                                                                           up to the
value of said money judgment, as substitute assets pursuant to Title 21 U.S.C. 853(p)
                                                                              §       and Fed.
R. Crini. P. 32.2(e)(l).

This Notice of Demand for Forfeiture includes, but is not limited to, the following properties:
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       1.   Glock, model 42, .380 caliber pistol, serial number
                                                                ADRLI 13;
      2 Spike's Tactical, model STl5, multi-caliber rifle, serial number
                                                                          SAR78579,
      3. $4,221.00 in United States Currency; and
      4. Any and all firearms, ammunition, and/or accessories involved in or
                                                                               used in the
         commission of the criminal offenses, including but not limited to tactical
                                                                                    bulletproof
         vests, magazines, and AR. 15 Kits/assembly parts.




BY

      Assistant United States Aomey
